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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )          4:06CR3102
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )          ORDER
ADRANETTE FOSTER,                           )
                                            )
                    Defendant.              )


      On the court’s own motion, and to accommodate a change in the undersigned’s
schedule,

       IT IS ORDERED that the defendant’s sentencing is rescheduled to Tuesday,
November 13, 2007, at 1:00 p.m., before the undersigned United States district judge, in
Courtroom No. 1, at the Robert V. Denney Federal Building and United States Courthouse,
in Lincoln, Nebraska. Since this is a criminal case, the defendant shall be present unless
excused by the court.

      September 24, 2007.                BY THE COURT:

                                         s/ Richard G. Kopf
                                         United States District Judge
